
ORDER
Considering the Petition to Transfer to Disability Inactive Status filed by Respondent,
IT IS ORDERED that respondent be and he hereby is transferred to interim disability inactive status pending a hearing to determine the validity of his claim of inability to assist in his defense due to mental incapacity, pursuant to Supreme Court Rule XIX, § 22(C). All disciplinary proceedings shall be stayed pending this determination.
Pursuant to Supreme Court Rule XIX, § 26(E), this order shall be effective immediately.
/s/ Walter F. Marcus, Jr. Justice, Supreme Court of Louisiana
VICTORY, J., not on panel. Rule IV, Part II, § 3.
